Case 3:23-cv-00230-DJH-RSE Document 79 Filed 07/14/23 Page 1 of 3 PageID #: 2494




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

  JANE DOE 1 et al.,                                                                    Plaintiffs,

  v.                                                     Civil Action No. 3:23-cv-230-DJH-RSE

  WILLIAM C. THORNBURY, JR., MD, in
  his official capacity as the President of the
  Kentucky Board of Medical Licensure et al.,                                         Defendants,

  and

  COMMONWEALTH OF KENTUCKY,
  ex rel. Attorney General Daniel Cameron,                                 Intervening Defendant.

                                             * * * * *

                                             ORDER

        The Court issued a preliminary injunction in this matter on June 28, 2023, enjoining

 enforcement of Kentucky Senate Bill 150, which would bar gender-affirming care for minors.

 (Docket No. 61) The following day, Attorney General Daniel Cameron filed a notice of appeal

 and moved to stay the injunction pending resolution of the appeal. (D.N. 65; D.N. 66) The Sixth

 Circuit has since consolidated this case with L.W. v. Skrmetti for purposes of appeal, see Order,

 Nos. 23-5600/23-5609 (6th Cir. July 8, 2023), ECF No. 13, and stayed a similar injunction in L.W.

 No. 23-5600, 2023 U.S. App. LEXIS 17234 (6th Cir. July 8, 2023). The panel issued no such

 ruling in this case, despite Cameron having also moved to stay in the appellate court. See Motion

 for Stay Pending Appeal, Doe v. Thornbury, No. 23-5609 (6th Cir. July 7, 2023), ECF No. 9.

        The parties dispute whether the Sixth Circuit’s stay of the injunction in L.W. requires the

 Court to grant the requested stay in this case. (See D.N. 73; D.N. 74; D.N. 77; D.N. 78) Plaintiffs

 observe that the Tennessee law at issue in L.W. allows existing treatments to continue until March

 31, 2024, a provision that the Sixth Circuit found “lessens the harm to those minors who wish to

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Case 3:23-cv-00230-DJH-RSE Document 79 Filed 07/14/23 Page 2 of 3 PageID #: 2495




 continue receiving treatment.” L.W., 2023 U.S. App. LEXIS 17234, at *23. As to the merits,

 Plaintiffs point out that “the Sixth Circuit held that the Tennessee statute does not classify on the

 basis of sex but instead regulates a medical condition” whereas SB 150 bans treatment on the basis

 of sex stereotypes, which should trigger heightened scrutiny under Smith v. City of Salem, 378

 F.3d 566 (6th Cir. 2004). (D.N. 77, PageID.2483)

        As set out in its June 28 Memorandum Opinion and Order, the Court agrees that Smith,

 reinforced by Bostock v. Clayton County, 140 S. Ct. 1731 (2020), dictates the level of scrutiny

 applicable to Plaintiffs’ equal-protection claims.1 (D.N. 61, PageID.2303-05) The Court further

 agrees that this case is distinguishable from L.W. with respect to the balance of harms. Likelihood

 of success on the merits weighs most heavily in the analysis, however, see City of Pontiac Retired

 Emps. Ass’n v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014) (citation omitted), and the language

 of the Tennessee law and the Sixth Circuit’s ruling leave no meaningful distinction between the

 two cases on that factor, notwithstanding this Court’s difference of opinion as to the strength of

 the plaintiffs’ claims under relevant Supreme Court and Sixth Circuit precedent. In considering a

 substantially similar statute, the Sixth Circuit panel found Smith and Bostock inapplicable,

 concluding that the L.W. plaintiffs—and, by extension, Plaintiffs here—are unlikely to succeed on

 appeal.2 See L.W., 2023 U.S. App. LEXIS 17234, at *21-*23. In light of that ruling, the Court



 1
   Plaintiffs do not contend that their due-process claims are unaffected by the Sixth Circuit’s ruling.
 (See D.N. 77) They likewise do not address the panel’s unanimous conclusion that a statewide
 injunction was overbroad. See L.W., 2023 U.S. App. LEXIS 17234, at *6-*8; id. at *26-*27
 (White, J., concurring in part and dissenting in part).
 2
   SB 150 bars healthcare providers from prescribing or administering hormones or puberty-
 blockers “for the purpose of attempting to alter the appearance of, or to validate a minor’s
 perception of, the minor’s sex, if that appearance or perception is inconsistent with the minor’s
 sex”; the Tennessee law prohibits such treatment “for the purpose of: (A) Enabling a minor to
 identify with, or live as, a purported identity inconsistent with the minor’s sex; or (B) Treating
 purported discomfort or distress from a discordance between the minor’s sex and asserted

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Case 3:23-cv-00230-DJH-RSE Document 79 Filed 07/14/23 Page 3 of 3 PageID #: 2496




 sees no basis to deny the requested stay. See Ky. ex rel. Danville Christian Acad., Inc. v. Beshear,

 981 F.3d 505, 508 (6th Cir. 2020) (citations omitted). Accordingly, and the Court being otherwise

 sufficiently advised, it is hereby

        ORDERED that the motion to stay (D.N. 66) is GRANTED. The June 28, 2023

 preliminary injunction (D.N. 61) is STAYED pending resolution of the appeal.


         July 14, 2023




 identity.” Tenn. Code Ann. § 68-33-103(a)(1). Thus, while subsection (B) of the Tennessee law
 more directly addresses the medical condition of gender dysphoria, subsection (A)—like SB 150—
 forbids the use of hormones and puberty-blockers where they would support an identity not
 stereotypical of the minor’s natal sex. (See D.N. 61, PageID.2304-05)

                                                  3
